Case 5:18-cv-00920-G Document 1-2 Filed 09/18/18 Page 1 of 8




              Exhibit 2
Case 5:18-cv-00920-G Document 1-2 Filed 09/18/18 Page 2 of 8
Case 5:18-cv-00920-G Document 1-2 Filed 09/18/18 Page 3 of 8
Case 5:18-cv-00920-G Document 1-2 Filed 09/18/18 Page 4 of 8
Case 5:18-cv-00920-G Document 1-2 Filed 09/18/18 Page 5 of 8
Case 5:18-cv-00920-G Document 1-2 Filed 09/18/18 Page 6 of 8
Case 5:18-cv-00920-G Document 1-2 Filed 09/18/18 Page 7 of 8
Case 5:18-cv-00920-G Document 1-2 Filed 09/18/18 Page 8 of 8
